                    Exhibit 30
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                                    6639
  B.P., ET AL.: BILLABLE HOURS FOR MOT. TO COMPEL FINANCIAL RECORDS (BAEHR-JONES)


  Date        Time Billed    Explanation
              (1/10 of an
              hour)
  6/20/2024   3.5            Draft facts section and circulate for review
  6/21/2024   .3             Input edits to facts section
  6/25/2024   1.7            Draft additions to facts section
  6/26/2024   2.5            Conduct legal research and draft argument section; circulate
                             for review
  6/26/2024   3.5            Phone call with paralegal; exhibit prep
  6/27/2024   .5             Draft additions to facts and argument section
  6/27/2024   .5             Finalize motion to seal, finalize brief and filing
  TOTAL:      12.5           @ $750/hour = $9,375 Attorneys’ Fees




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                                    6640
